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                                                            EXHIBIT A
                                      STANDARDIZED FUND ACCOUNTING REPORT

                                           Receivership in SEC v. Thurman P. Bryant III, et al.
                                             Civil Court Docket No. 04:17‐CV‐00336‐ALM

                                      Sixth Quarterly Reporting Period ‐ 07/01/2018 ‐ 09/30/2018

FUND ACCOUNTING:
                                                                             Reporting Period Subtotal Prior Periods Grand Total
Line 1       Beginning Balance (As of 07/01/2018)                                $735,516.40            $473,546.98          $0.00

             Increases in Fund Balance:

Line 2       Business Income                                                            $0.00                 $0.00         $0.00
Line 3       Cash and Securities                                                      $598.00           $423,621.65 $424,219.65
Line 4       Interest/Dividends Income                                                  $0.00                 $0.00         $0.00
Line 5       Business Asset Liquidation                                                 $0.00                 $0.00         $0.00
Line 6       Personal Asset Liquidation                                           $514,000.00           $534,774.62 $1,048,774.62
Line 7       Third‐Party Litigation Income                                        $412,900.00           $299,000.00 $711,900.00
Line 8       Miscellaneous ‐ Other                                                 $28,600.00           $136,227.49 $164,827.49
  Line 8a                  Total Funds Available (Lines 1 ‐8):                  $1,691,614.40         $1,393,623.76 $2,349,721.76

             Decreases in Fund Balance:

Line 9       Disbursements to Investors                                                   $0.00               $0.00         $0.00

Line 10      Disbursements for Receivership Operations                                   $0.00                $0.00         $0.00
  Line 10a   Disbursements to Receiver or Other Professionals                       $90,246.46          $182,734.94   $272,981.40
 Line 10b    Business Asset Expenses                                                     $0.00            $2,976.87     $2,976.87
  Line 10c   Personal Asset Expenses                                                $18,800.00          $133,511.90   $152,311.90
 Line 10d    Investment Expenses                                                      $135.00              $687.11       $822.11
 Line 10e    Third‐Party Litigation Expenses
             1. Attorney Fees                                                      $234,574.86          $338,196.54   $572,771.40
             2. Litigation Expenses                                                      $0.00                $0.00         $0.00
             Total Third‐Party Litigation Expenses                                 $234,574.86          $338,196.54   $572,771.40

 Line 10f Tax Administrator Fees and Bonds                                              $0.00                 $0.00         $0.00
 Line 10g Federal and State Tax Payments                                                $0.00                 $0.00         $0.00
          Total Disbursements for Receivership Operations                         $343,756.32           $658,107.36 $1,001,863.68

Line 11   Disbursements for Distribution Expenses Paid by the Fund:
 Line 11a            Distribution Plan Development Expenses:
          1. Fees:
                            Fund Administration                                           $0.00               $0.00         $0.00
                            Independent Distribution Consultant (IDC)                     $0.00               $0.00         $0.00
                            Distribution Agent                                            $0.00               $0.00         $0.00
                            Consultants                                                   $0.00               $0.00         $0.00
                            Legal Advisers                                                $0.00               $0.00         $0.00
                            Tax Advisers                                                  $0.00               $0.00         $0.00
          2. Administrative Expenses                                                      $0.00               $0.00         $0.00
          3. Miscellaneous                                                                $0.00               $0.00         $0.00
          Total Plan Development Expenses                                                 $0.00               $0.00         $0.00

 Line 11b Distribution Plan Implementation Expenses
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           1. Fees
                             Fund Administration                                  $0.00                $0.00          $0.00
                             Independent Distribution Consultant (IDC)            $0.00                $0.00          $0.00
                             Distribution Agent                                   $0.00                $0.00          $0.00
                             Consultants                                          $0.00                $0.00          $0.00
                             Legal Advisers                                       $0.00                $0.00          $0.00
                             Tax Advisers                                         $0.00                $0.00          $0.00
           2. Administrative Expenses                                             $0.00                $0.00          $0.00
           3. Investor Identification:
                             Notice/Publishing Approved Plan                      $0.00                $0.00          $0.00
                             Claimant Identification                              $0.00                $0.00          $0.00
                             Claims Processing                                    $0.00                $0.00          $0.00
           4. Fund Administrator Bond                                             $0.00                $0.00          $0.00
           5. Miscellaneous                                                       $0.00                $0.00          $0.00
           6. Federal Account for Investor Restitution                            $0.00                $0.00          $0.00
           (FAIR) Reporting Expenses
           Total Plan Implementation Expenses                                     $0.00                $0.00          $0.00
           Total Disbursements for Distribution Expenses Paid by the Fu           $0.00                $0.00          $0.00

Line 12    Disbursements to Court/Other
  Line 12a        Investment Expenses/Court Registry Investment
           System (CRIS) Fees                                                     $0.00                $0.00         $0.00
 Line 12b     Federal Tax Payments                                                $0.00                $0.00         $0.00
             Total Disbursement to Court/Other:                                   $0.00                $0.00         $0.00
             Total Funds Disburses (Line 9 ‐ 11):                           $343,756.32          $658,107.36 $1,001,863.68
Line 13    Ending Balance (As of 09/30/2018):                             $1,347,858.08          $735,516.40 $1,347,858.08
Line 14    Ending Balance of Fund ‐ Net Assets:
  Line 14a    Cash & Cash Equivalents                                     $1,347,858.08          $735,516.40 $1,347,858.08
 Line 14b     Investments                                                         $0.00            $2,053.87         $0.00
  Line 14c    Other Assets or Uncleared Funds (Frozen Accounts)               $1,700.00          $360,899.09     $1,700.00
           Total Ending Balance of Fund ‐ Net Assets                      $1,349,558.08        $1,098,469.36 $1,349,558.08



OTHER SUPPLEMENTAL INFORMATION:                                       Reporting Period Subtotal Prior Periods Grand Total

           Report of Items NOT To Be Paid by the Fund:
Line 15    Disbursements for Plan Administration Expenses Not Paid by the Fund:
  Line 15a Plan Development Expenses Not Paid by the Fund:
           1. Fees                                                                $0.00                $0.00          $0.00
                            Fund Administrator                                    $0.00                $0.00          $0.00
                            IDC                                                   $0.00                $0.00          $0.00
                            Distribution Agent                                    $0.00                $0.00          $0.00
                            Consultants                                           $0.00                $0.00          $0.00
                            Legal Advisers                                        $0.00                $0.00          $0.00
                            Tax Advisers                                          $0.00                $0.00          $0.00
           2. Administrative Expenses                                             $0.00                $0.00          $0.00
           3. Miscellaneous                                                       $0.00                $0.00          $0.00
           Total Plan Development Expenses Not Paid by the Fund                   $0.00                $0.00          $0.00
 Line 15b Plan Implementation Expenses Not Paid by the Fund:
           1. Fees
                            Fund Administrator                                    $0.00                $0.00          $0.00
                            IDC                                                   $0.00                $0.00          $0.00
                            Distribution Agent                                    $0.00                $0.00          $0.00
                            Consultants                                           $0.00                $0.00          $0.00
                            Legal Advisers                                        $0.00                $0.00          $0.00
                            Tax Advisers                                          $0.00                $0.00          $0.00
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             2. Administrative Expenses                                  $0.00   $0.00   $0.00
             3. Investor Identification:
                               Notice/Publishing Approved Plan           $0.00   $0.00   $0.00
                               Claimant Identification                   $0.00   $0.00   $0.00
                               Claims Processing                         $0.00   $0.00   $0.00
                               Web Site Maintenance/Call Center          $0.00   $0.00   $0.00
             4. Fund Administrator Bond                                  $0.00   $0.00   $0.00
             5. Miscellaneous                                            $0.00   $0.00   $0.00
             6. FAIR Reporting Expenses                                  $0.00   $0.00   $0.00
             Total Plan Implementation Expenses Not Paid by the Fund     $0.00   $0.00   $0.00
 Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund      $0.00   $0.00   $0.00
             Total Disbursements for Plan Administration Expenses Not    $0.00   $0.00   $0.00
Line 16      Disbursements to Court/Other Not Paid by the Fund
  Line 16a       Investment Expenses/CRIS Fees                           $0.00   $0.00   $0.00
 Line 16b        Federal Tax Payments                                    $0.00   $0.00   $0.00
             Total Disbursements to Court/Other Not Paid by Fund:        $0.00   $0.00   $0.00
Line 17      DC & State Tax Payments                                     $0.00   $0.00   $0.00
Line 18      No. of Claims:
  Line 18a       # of Claims Received This Reporting Period                 0      84      84
 Line 18b        # of Claims Received Since Inception of Fund              84      84      84
Line 19      No of Claimants/Investors
  Line 19a       # of Claimants/Investors Paid This Reporting Period        0       0       0
 Line 19b        # of Claimants/Investors Paid Since Inception of Fund      0       0       0
